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                        UNITED STATES DISTRICT COURT
14                     CENTRAL DISTRICT OF CALIFORNIA
15                           WESTERN DIVISION
16   JOHNNY        JOHNSON,        EZRA       Case No.: 2:22-cv-08909-FMO-PLA
     BOEKWEG, MARIO PALOMBINI,
17                                            DEFENDANT PARIS HILTON’S NOTICE
     and ADAM TITCHER, Individually
18   and on Behalf of All Others Similarly    OF MOTION AND MOTION TO DISMISS
     Situated,                                FIRST AMENDED COMPLAINT;
19
                              Plaintiffs,     MEMORANDUM OF POINTS AND
20
                                              AUTHORITIES IN SUPPORT;
21            v.
                                              [PROPOSED] ORDER GRANTING
22                                            MOTION
     YUGA LABS, INC., et al.,
23
                              Defendants.     Date: November 30, 2023
24                                            Time: 10:00 a.m.
25                                            Courtroom: 6D
                                              Judge: Hon. Fernando M. Olguin
26
27                                            Complaint Filed: December 8, 2022
                                              Amended Complaint Filed: August 4,
28                                            2023

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 1                        NOTICE OF MOTION AND MOTION
 2   TO THE HONORABLE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
 3   RECORD:
 4         PLEASE TAKE NOTICE that on November 30, 2023, at 10:00 am, or as soon
 5   thereafter as counsel may be heard, in the courtroom of the Honorable Fernando M.
 6   Olguin, Courtroom 6D, defendant Paris Hilton will and does hereby move the Court
 7   for an order dismissing the First Amended Class Action Complaint (Dkt. 114) (the
 8   “Complaint”) brought by plaintiffs Johnny Johnson, Ezra Boekweg, Mario
 9   Palombini, and Adam Titcher.
10         This motion is made pursuant to Federal Rule of Civil Procedure 12(b)(6) and
11   is based on the grounds that the purported claims fail to state a claim upon which
12   relief can be granted.
13         This motion is based upon this Notice of Motion and the Memorandum of
14   Points and Authorities in Support filed herewith, the pleadings and documents on
15   file in this case, other such arguments as may be presented by counsel at the hearing
16   on this motion, and such other matters of which this Court may take judicial notice.
17                        LOCAL RULE 7-3 CERTIFICATION
18         This motion is made following the conference of counsel pursuant to Local
19   Rule 7-3 on September 1, 2023, during which counsel for the parties discussed in
20   good faith the substance of the contemplated motion and any potential resolution.
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 1                                    Preliminary Statement
 2          Plaintiffs are dissatisfied speculators in an emerging art medium. Their
 3   allegations of a broad scheme to defraud buyers and holders of Bored Ape Yacht
 4   Club NFTs do not state claims, even as to the core defendants, for the reasons
 5   articulated in Yuga Labs’ concurrent motion to dismiss.
 6          Even more attenuated are plaintiffs’ efforts to extend their theories to
 7   peripheral defendants that include celebrities such as Paris Hilton.         Plaintiffs’
 8   allegations concerning Ms. Hilton rest on conjecture or outright mischaracterization
 9   of public facts and fail to identify any plausible basis to impose liability. In fact,
10   plaintiffs do not even allege that Ms. Hilton profited from her Bored Ape Yacht Club
11   NFT—nor can they. She never sold it. Fairly characterized, Ms. Hilton did no more
12   than discuss enthusiastic possession of one of the artworks, innocuous statements
13   that are not actionable under the securities statutes or any asserted state law theory.
14          Ms. Hilton thus both joins Yuga Labs’ motion and seeks dismissal of all
15   claims against her1 for the independent reasons discussed below.
16                                        Background
17          Alleged Misstatements.        Plaintiffs allege Ms. Hilton made three false
18   statements during and after appearing on the Tonight Show. See FAC ¶¶ 188, 190,
19   192-93. The core allegations are that Ms. Hilton misled “investors” into believing
20   she had “actually bought the BAYC NFT” (which, they allege, she had not) and that
21   she    was   “enthusiastically    ‘hanging   out   in   the   metaverse’”   with    her
22   “BoredApeBestie[],” Mr. Fallon (which they contend was also untrue). Id. ¶¶ 193-
23   94. As detailed below, these statements are neither false nor material.
24          A.    Tonight Show Segment
25          On January 24, 2022, Ms. Hilton appeared on the Tonight Show. During that
26   segment, the FAC alleges Ms. Hilton stated “she had ‘saw’ [sic] Fallon’s previous
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         The FAC alleges claims against Ms. Hilton in Counts 1–3, 8, 10 and 13.

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 1   BAYC segment[] and ‘copied’ Fallon’s use of MoonPay to ‘buy an ape.’” FAC
 2   ¶ 188. Plaintiffs contend this statement is misleading because, on “information and
 3   belief,” Ms. Hilton received the BAYC NFT in exchange for its promotion. Id. ¶¶
 4   166, 198.
 5         The only misstatement discernable from the quotation above is by plaintiffs.
 6   During the Tonight Show segment (which is readily viewable online and not subject
 7   to dispute) Ms. Hilton never claimed she “bought” an ape via MoonPay or otherwise.
 8   Rather, Ms. Hilton told Mr. Fallon: “I got an ape, too . . . you said you got on
 9   MoonPay, so I went and I copied you and did the same thing.” (emphasis added).2
10   The segment lasted under two minutes. Id. ¶ 191.
11         B.    “Loves It!” Tweet
12         The day after the Tonight Show segment aired, on January 25, 2022, an
13   anonymous user tweeted, “Wait @ParisHilton bought my ape?!” FAC ¶ 190. Ms.
14   Hilton’s account responded by tweeting two emojis and her signature phrase from
15   The Simple Life, “Loves it!” Id.
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         The Court may consider the full video, which plaintiffs have hyperlinked and
25   incorporated by reference into their Complaint (FAC ¶ 188 n.137). See Goodman v.
26   Bouzy, 2023 WL 3296203, at *10 n.7 (S.D.N.Y. May 8, 2023) (in defamation case,
     incorporating phone call hyperlinked in complaint); EEOC v. 98 Starr Rd. Operating
27   Co., 2023 WL 4557751, at *2 (D. Vt. July 17, 2023) (“When a plaintiff includes a
28   hyperlink in their complaint, courts have found the linked item is incorporated by
     reference[.]”) (collecting cases).
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 1          As on the Tonight Show appearance, nowhere in Ms. Hilton’s tweet does she
 2   state that she purchased her BAYC NFT. Plaintiffs nonetheless cite this tweet as a
 3   supposed basis for their understanding that Ms. Hilton bought the BAYC NFT.
 4   However, plaintiffs omit a key fact—the tweet thread to which Ms. Hilton was
 5   responding clearly stated that MoonPay, not Ms. Hilton, bought the BAYC NFT
 6   being discussed. See id. n.140 (hyperlinking to tweet).3
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20   Moreover, plaintiffs do not allege facts showing Ms. Hilton did not purchase the
21   BAYC NFT through the MoonPay platform.
22          C.     Tonight Show Animation
23          On January 31, 2022, Ms. Hilton posted a “message on Twitter with an
24   animated cartoon version of” her interview with Mr. Fallon. FAC ¶¶ 192, 193. The
25   animation depicted Ms. Hilton and Mr. Fallon as their respective BAYC NFT
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         The Court may consider the full Twitter thread at issue. See n.1.
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 1   personas. See id. n.143.4 Ms. Hilton commented that she was “hanging out in the
 2   metaverse” with Mr. Fallon, noting the two were “BoredApeBesties.” Id. ¶ 192.
 3   Nowhere in this tweet does Ms. Hilton discuss, or even suggest, how she received
 4   her BAYC NFT. Moreover, the end of the animation expressly discloses that the
 5   video was sponsored, stating it was “brought to you by Bored Ape Studios, a
 6   metaverse company.” See id. ¶ 192 n.143.
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20         Alleged Omission. Plaintiffs also contend Ms. Hilton had an undisclosed
21   “direct financial interest in MoonPay” at the time she made the challenged
22   statements. See, e.g., FAC ¶ 194. Plaintiffs’ only apparent basis for this allegation
23   is that several months later, on April 13, 2022, MoonPay announced that Ms.
24   Hilton—along with almost 60 other celebrities—had invested in the company. See
25   id. ¶ 97 n.39. This announcement preceded Titcher’s and Palombini’s alleged
26   purchases of Yuga Labs’ NFTs purportedly made “in reliance” on Ms. Hilton’s
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        The Court may consider the full contents of the “animated cartoon” in assessing
     this motion. See n.1.
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 1   January statements.    See id. ¶¶ 455, 460; see also Dkts. 1-2, 74-2 (PSLRA
 2   certifications). No well-pleaded facts establish (or suggest) a financial interest in
 3   MoonPay at the time she made the alleged statements; nor do plaintiffs allege Ms.
 4   Hilton ever had any financial interest—undisclosed or otherwise—in Yuga Labs.
 5                                        Argument
 6   I.    PLAINTIFFS FAIL TO STATE A CLAIM UNDER SECTION 10(b)
           AND RULE 10b-5 AGAINST MS. HILTON (COUNT 8)
 7
           A.     Plaintiffs Fail To Allege Ms. Hilton Committed Material
 8                Misstatements Or Deceptive Acts In Furtherance of A Scheme
 9         In furtherance of one of several ill-described “schemes” in the FAC, plaintiffs
10   claim Ms. Hilton provided the false impression she had bought a BAYC NFT; was
11   “hanging out in the metaverse” with Mr. Fallon; and failed to disclose she had a
12   financial interest in MoonPay. Plaintiffs’ claim fails because (1) Ms. Hilton’s
13   alleged statements were not actually false or misleading; (2) Ms. Hilton had no duty
14   to disclose whether she had a financial interest in MoonPay; and (3) none of the
15   alleged misstatements and omissions would be material to a reasonable investor.
16         No Falsity. Plaintiffs first allege Ms. Hilton provided the false impression
17   she had purchased a BAYC NFT. See FAC ¶ 193. Contrary to plaintiffs’ allegation,
18   Ms. Hilton did not state on the Tonight Show that she bought her BAYC NFT. Ms.
19   Hilton merely tells Mr. Fallon she “got one [an ape] too,” after “[getting] on
20   MoonPay.”5 At no point did Ms. Hilton disclose how she obtained it. Further,
21   plaintiffs do not allege (nor could they) that Ms. Hilton did not receive a BAYC NFT
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         “[W]hen ruling on a Rule 12(b)(6) motion,” the Court is not “required to accept
25   as true allegations that contradict exhibits attached to the Complaint[.]” Engineer.AI
26   Corp. v. Kaufman, No. 22-cv-03552-SPG-KS, 2022 WL 17886022, at *3 (C.D. Cal.
     Dec. 2, 2022) (quoting Seven Arts Filmed Ent., Ltd. v. Content Media Corp. PLC,
27   733 F.3d 1251, 1254 (9th Cir. 2013)). Here, the Tonight Show segment was
28   incorporated into the FAC by reference. See n.1. The Court can disregard
     allegations contradicted by that segment.
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 1   from MoonPay or otherwise. Accordingly, plaintiffs have failed to plead that any of
 2   Ms. Hilton’s actual statements on the Tonight Show were false.
 3         Similarly, contrary to plaintiffs’ allegations, Ms. Hilton’s Twitter exchange
 4   with the prior owner of the BAYC NFT does not support an inference that Ms. Hilton
 5   purchased the BAYC NFT. In the full relevant Twitter thread, an anonymous user
 6   noted that MoonPay had purchased his BAYC NFT and “wonder[ed] if they bought
 7   it for someone special.” FAC ¶ 190 n.140 In response to that thread and after the
 8   Tonight Show aired, that same anonymous user noted that Ms. Hilton had received
 9   his BAYC NFT, to which she responded, “Loves it!”—a phrase she made popular
10   during her time on The Simple Life. During that exchange, Ms. Hilton did not state
11   one way or another how she obtained the BAYC NFT, and the only arguable
12   statement contained in this tweet is an assertion by Ms. Hilton that she “loves” the
13   BAYC NFT referenced in the anonymous user’s prior tweet. See id. That statement
14   is neither actionable nor alleged to be false.
15         Even assuming Ms. Hilton’s statements could be construed as suggesting she
16   had “purchased” a BAYC NFT (and they should not be), plaintiffs fail to allege
17   sufficiently any plausible, non-conclusory reason those statements were false.
18   Plaintiffs’ assertions that Ms. Hilton did not “purchase” a BAYC NFT rest only on
19   (1) general allegations concerning “defendants” collectively, made only on
20   information and belief; and (2) the alleged account of CW1. Such speculation is not
21   enough. First, general allegations based on “information and belief” must “state
22   with particularity all facts on which that belief is formed.” Masterson v. Cheetah
23   Mobile Inc., 2018 WL 5099505, at *2 (C.D. Cal. June 27, 2018) (dismissing Section
24   10(b) claim under PSLRA’s heightened pleading standards). Plaintiffs do no such
25   thing. Second, the allegations concerning Ms. Hilton in CW1’s “account” do not
26   specify whether Ms. Hilton purchased the BAYC NFT in question. Although
27   plaintiffs allege CW1 is a “former MoonPay employee,” they fail to specify when
28   during 2022 CW1 was employed by that company and what specific searches CW1

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 1   conducted with respect to Ms. Hilton that supposedly informed CW1’s “account.”
 2   See FAC ¶¶ 99, 106. Put simply, these anonymous allegations do not come close to
 3   “directly contradict[ing]” any statement by Ms. Hilton and thus are insufficient to
 4   plead falsity. Weston Fam. P’Ship v. Twitter, 29 F.4th 611, 619 (9th Cir. 2022).6
 5            Finally, plaintiffs also allege that Ms. Hilton provided the false impression
 6   that she was “hanging out in the metaverse” with Mr. Fallon. FAC ¶ 193. Plaintiffs
 7   fail to allege that any part of this statement was false or misleading. As a threshold
 8   matter, what plaintiffs understood these statements to mean and why plaintiffs
 9   believe them to be false remains unclear. What is apparent, however, is that Ms.
10   Hilton’s comment that she was “hanging out in the Metaverse” and
11   “BoredApeBesties” with Mr. Fallon was a reference to the embedded “animated
12   cartoon version” of the Tonight Show segment where Ms. Hilton and Mr. Fallon
13   were depicted as cartoon versions of their respective BAYC NFTs. See id. ¶ 192
14   n.143.     To the extent Ms. Hilton’s statement contained any arguable factual
15   assertion, it was indisputably true: the video does depict Ms. Hilton and Mr. Fallon
16   “hanging out in the Metaverse” in the form of their BAYC NFTs (i.e., as
17   “BoredApeBesties”).
18            Plaintiffs seem to suggest that this post should have contained a disclaimer
19   that it was an advertisement for the BAYC collection. Even accepting that to be true
20   (which Ms. Hilton does not), the video in that post clearly states that it is sponsored.
21   The animation ends with several slides stating in large letters that the animation is
22   “brought to you by Bored Ape Studios, a metaverse company.” Id. Regardless,
23   whether the video’s sponsorship was apparent to plaintiffs or not, none of Ms.
24   Hilton’s statements regarding the cartoon were false.
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        Cf. M & M Hart Living Tr. v. Glob. Eagle Ent., Inc., 2017 WL 5635425, at *9
27   (C.D. Cal. Oct. 30, 2017) (finding confidential witness statements that were
28   “explicitly speculative and based on nothing more than the confidential witnesses’
     suspicions” insufficient).
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 1         No Duty to Disclose. Plaintiffs allege Ms. Hilton furthered a deceptive
 2   scheme by not disclosing a financial interest in MoonPay. See, e.g., FAC ¶¶ 83, 112,
 3   114. However, plaintiffs fail to allege any duty under federal securities laws to
 4   disclose this information. See Retail Wholesale & Dep’t Store Union Loc. 338 Ret.
 5   Fund v. Hewlett-Packard Co., 845 F.3d 1268, 1278 (9th Cir. 2017) (affirming
 6   dismissal where defendants had no duty to disclose); Chiarella v. United States, 445
 7   U.S. 222, 234-35 (1980) (holding that, as to Section 10(b), “[w]hen an allegation of
 8   fraud is based upon nondisclosure, there can be no fraud absent a duty to speak”).
 9   Nor do their allegations give rise to an inference that an investor in the at-issue
10   products (the “Products”) would be misled without this information. See Bodri v.
11   GoPro, Inc., 252 F. Supp. 3d 912, 924 (N.D. Cal. 2017) (citing Omnicare, Inc. v.
12   Laborers Dist. Council Const. Indus. Pension Fund, 575 U.S. 175, 194 (2015)) (“A
13   statement is misleading only if a reasonable investor, reading the statement fairly
14   and in context, would be misled.”)
15         Not Material. Plaintiffs fail to allege how a statement concerning how Ms.
16   Hilton obtained the BAYC NFT would be material to a reasonable investor. That
17   Ms. Hilton possessed a BAYC NFT, regardless of how it was obtained, does not
18   make the BAYC NFT less exclusive or render other owners any less part of that
19   same club. Nor do plaintiffs explain why an investor would consider relevant
20   whether Ms. Hilton had a financial interest in MoonPay—especially where plaintiffs
21   could and did purchase Products from other platforms. In fact, plaintiffs’ own
22   allegations prove the alleged existence of this financial interest was immaterial to
23   both Titcher and Palombini, the only plaintiffs who allegedly relied upon Ms.
24   Hilton’s statements, as they continued to purchase Products after Ms. Hilton’s
25   alleged interest was disclosed. See FAC ¶¶ 97, 455, 460.
26         B.    Plaintiffs Fail To Plead Scienter
27         Group allegations of scienter directed at defendants generally (see, e.g., FAC
28   ¶ 644) fail to give rise to a “strong inference” that Ms. Hilton herself acted with

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 1   scienter. See, e.g., Prodanova v. H.C. Wainwright & Co., 993 F.3d 1097, 1106 (9th
 2   Cir. 2021) (under the PSLRA, a complaint must allege that the defendant made “false
 3   or misleading statements with an ‘intent to deceive, manipulate, or defraud,’ or with
 4   deliberate recklessness”). Plaintiffs fail to allege any plausible motive Ms. Hilton
 5   would have to engage in a scheme to increase the price of the Products. This is
 6   underscored by plaintiffs’ failure to allege that Ms. Hilton has profited from the
 7   increase in price of the Products, especially because plaintiffs do not allege that Ms.
 8   Hilton has sold her BAYC NFT (she has not). See In re Rigel Pharms., Inc. Sec.
 9   Litig., 697 F.3d 869, 884-85 (9th Cir. 2012) (supposed motive to “conceal the
10   [truth]” to obtain stock options and increase their value did not support inference of
11   scienter, particularly where defendant did not engage in any sales of the asset).
12         And although plaintiffs make much of Ms. Hilton being an investor in
13   MoonPay, plaintiffs fail to articulate any non-conclusory reason she would benefit
14   from increased sales of Products to the public. Because plaintiffs advance no theory
15   of “a clear financial incentive” for Ms. Hilton to engage in the conduct at issue, their
16   claim under Section 10(b) fails. Prodanova, 993 F.3d at 1106.
17         C.     Plaintiffs Fail To Plead Loss Causation
18         Even assuming plaintiffs had properly alleged deceptive conduct (which they
19   have not), plaintiffs’ Section 10(b) claim against Ms. Hilton fails because plaintiffs
20   have not adequately pleaded “a causal connection between the material
21   misrepresentation and the loss[.]” Reed v. Amira Nature Foods Ltd., 2016 WL
22   6571281, at *12 (C.D. Cal. July 18, 2016) (Olguin, J.). In other words, plaintiffs do
23   not plead that “the defendant’s fraud was revealed to the market and caused the
24   resulting losses,” i.e., loss causation. Loos v. Immersion Corp., 762 F.3d 880, 887
25   (9th Cir. 2014).
26         First, as to each of Ms. Hilton’s alleged misrepresentations, plaintiffs fail to
27   plead a “corrective disclosure” was issued that could be attributed to their losses.
28   See Cowan v. Goldcorp, 2017 WL 5495734, at *3 (C.D. Cal. Sept. 6, 2017) (Olguin,

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 1   J.) (no loss causation where plaintiffs “do not allege specific statements made by the
 2   [d]efendants that were made untrue or called into question by subsequent public
 3   disclosures”). Although the FAC alleges Ms. Hilton claimed she bought the BAYC
 4   NFT, plaintiffs do not allege “a subsequent revelation of the inaccuracy of that
 5   misrepresentation[.]” Reed, 2016 WL 6571281, at *12. In fact, plaintiffs do not
 6   point to a single statement demonstrating that Ms. Hilton’s alleged statement was
 7   untrue, and instead rely only on “information and belief” (FAC ¶¶ 166, 198) and a
 8   confidential witness who drew inferences from his/her inability to identify Ms.
 9   Hilton on the MoonPay Dashboard (id. ¶¶ 106-07). Similarly, although the FAC
10   alleges Ms. Hilton provided “investors the false impression that Hilton . . . was
11   enthusiastically ‘hanging out in the metaverse’ with Fallon and that they were
12   ‘BoredApeBesties[,]’” (id. ¶ 193), it again fails to point to any revelation of an
13   inaccuracy in that alleged misrepresentation.
14         Second, as to the alleged omission of Ms. Hilton’s financial interest in
15   MoonPay, plaintiffs fail to adequately plead causation.         “[T]he plaintiff in a
16   securities fraud action must demonstrate that an economic loss was caused by the
17   defendant’s misrepresentations.” See Cowan, 2017 WL 5495734, at *6. Although
18   plaintiffs assert that “the price of the [Products] dropped significantly as [] the
19   market discovered the truth concerning the celebrity promotions” (FAC ¶ 616), the
20   pricing chart in the FAC contradicts such a conclusion. See id. ¶ 141. Plaintiffs
21   contend the market became aware that Ms. Hilton invested in MoonPay on April 13,
22   2022. See id. ¶ 97. Based on plaintiffs’ allegations, one would expect to see the
23   price of BAYC NFTs drop. Instead, the price of BAYC NFTs continued to increase,
24   reaching an all-time high on April 30, 2022. Plaintiffs fail to allege causation. See
25   Metzler Inv. GMBH v. Corinthian Colleges, Inc., 540 F.3d 1049, 1062 (9th Cir.
26   2008) (complaint “must allege that the defendant’s share price fell significantly after
27   the truth became known”).
28

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12         D.     Plaintiffs Fail To Plead Reliance
13         Despite that the FAC alleges three broad schemes (two in which they concede
14   Ms. Hilton had no role), plaintiffs contend the statements attributed to Ms. Hilton
15   induced Titcher to hold his MAYC NFT7 and Titcher and Palombini to purchase
16   other (different) Products. The transactions by these plaintiffs belie an inference that
17   they “engaged in a relevant transaction” based on those statements, as required under
18   Section 10(b). See Amgen Inc. v. Connecticut Ret. Plans and Tr. Funds, 568 U.S.
19   455, 461 (2013). Palombini purchased a different Product three months after the
20   challenged statements and two weeks after Ms. Hilton’s investment in MoonPay (the
21   allegedly omitted fact) became public. Titcher purchased ApeCoin (not an NFT)
22   over a month after the Tonight Show segment—and did not purchase a Product until
23   three months after the segment. Additionally, the FAC pleads that reports at the time
24   characterized the Tonight Show segment as “profoundly unsettling” and “forced.”
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        “Plaintiffs who rely on a forbearance theory of fraud for holding on to stock that
     they allegedly would have sold but for the defendants’ fraudulent conduct must plead
27   how many shares they would have sold and when they would have sold them.” AB
28   Inv. LLC v. Regal One Corp., 2009 WL 10675242, at *3 n.5 (C.D. Cal. Sept. 9, 2009)
     (citation omitted). Plaintiffs fail to do so.
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 1   FAC ¶ 194. Both articles linked to in the FAC discuss a deep skepticism towards
 2   NFTs; one notes, “NFTs can go down in value too, leading to comparisons to a
 3   virtual casino.” Id. ¶ 194 n.145. This public discussion refutes any notion that the
 4   market interpreted Ms. Hilton’s statements the way plaintiffs allege. See In Re
 5   Ethereummax Inv. Litig., 2022 U.S. Dist. LEXIS 220968, at *2 (C.D. Cal. Dec. 6,
 6   2022) (“the law . . . expects investors to act reasonably before basing their bets on
 7   the zeitgeist of the moment”).
 8         Plaintiffs further fail to plead “fraud-on-the-market” because they provide no
 9   factual context about the trading volume of the Products or the other factors that
10   courts assess when evaluating market efficiency at the pleading stage. See Hashem
11   v. NMCHealth PLC, 2021 WL 5926133, at *4 (C.D. Cal. Nov. 1, 2021) (dismissing
12   where plaintiff “failed to plead facts to support sufficient volume was pleaded with
13   particularity”); Yuga Br. at 25.
14   II.   PLAINTIFFS FAIL TO STATE A CLAIM UNDER SECTIONS 25401
           AND 25501 OF THE CALIFORNIA CORPORATIONS CODE
15         (COUNT 10)
16         Plaintiffs fail to state a claim for violations of Sections 25401 and 25501 of
17   the California Corporations Code because plaintiffs were not in “strict privity”
18   with—i.e., purchased securities (or anything else) from—Ms. Hilton, as required
19   under both sections. See, e.g., Apollo Cap. Fund, LLC v. Roth Cap. Partners, LLC,
20   158 Cal. App. 4th 226, 253-55 (2007); Sharp v. Arena Pharms., Inc., 2013 WL
21   12094819, at *2 (S.D. Cal. Mar. 29, 2013).
22         Further, plaintiffs do not plead a fraud claim under Sections 25401 and 25501
23   of the California Corporations Code because, as discussed above, they have not
24   alleged any actionable misstatement, omission, or fraudulent scheme. See Jackson
25   v. Fischer, 2013 WL 1089860, at *11 (N.D. Cal. Mar. 15, 2013) (dismissing claim
26   under section 25401 where plaintiff failed to plead false or misleading statements
27   under Section 10(b)); Kainos Lab’ys, Inc. v. Beacon Diagnostics, Inc., 1998 WL
28   2016634, at *13 (N.D. Cal. Sept. 14, 1998) (dismissing where plaintiff “simply

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 1   reiterates the factual allegations made in its [S]ection 10(b) cause of action” in state
 2   claims).
 3          Last, even assuming plaintiffs intended to allege that Ms. Hilton violated
 4   Section 25401.1—which prohibits “materially assisting” a violation of Section
 5   25401, see Cal. Corp. Code § 25504.1—plaintiffs still fail to allege facts sufficient
 6   to state a claim. Section 25401.1 requires allegations of a primary violation and that
 7   the defendant had an intent to defraud—i.e., actual knowledge of the predicate
 8   violation. See, e.g., OCG Energy, LLC v. Shen, 2023 WL 2628689, at *7 (C.D. Cal.
 9   Jan. 11, 2023). Here, the FAC fails to identify any alleged predicate or primary
10   violation plaintiffs could seek to hold Ms. Hilton liable for assisting. The FAC
11   similarly does not allege Ms. Hilton had actual knowledge of any primary violation
12   or took any specific steps to “materially assist” such a violation. These failures doom
13   plaintiffs’ California Securities laws claim against Ms. Hilton.
14   III.   PLAINTIFFS FAIL TO STATE ANY CLAIM UNDER THE UCL
            (COUNTS 1–3)
15
            A.    Lead Plaintiffs Lack Standing
16
17          Because (i) all plaintiffs other than Titcher reside outside California and do
18   not allege injury in California, and (ii) Titcher only has standing as to Products he
19   bought, no lead plaintiff has standing to assert UCL claims against Ms. Hilton. See,
20   e.g., Lorentzen v. Kroger Co., 532 F. Supp. 3d 901, 909 (C.D. Cal. 2021) (plaintiff
21   lacked standing under California consumer protection laws for products she did not
22   purchase). The FAC does not allege Ms. Hilton made statements about the Products
23   that Titcher bought.8 Because no plaintiff has standing to pursue a UCL claim
24   against Ms. Hilton, the Court must dismiss those claims.
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28     Ms. Hilton obtained and made statements concerning a BAYC NFT. Titcher has
     not alleged he ever purchased a BAYC NFT. See Dkt. 74–2.
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 1         B.     The UCL Claims Fail The “Fraudulent” Prong
 2         The UCL claims also fail substantively. To assert violation of the UCL’s
 3   “fraudulent” prong (see FAC ¶ 538), plaintiffs must “plead how an alleged
 4   misrepresentation is false or misleading.” Ahern v. Apple Inc., 411 F. Supp. 3d 541,
 5   559 (N.D. Cal. 2019). Plaintiffs must also plausibly plead that “members of the
 6   public were likely to be deceived” by the misrepresentation or omission at issue.
 7   Warner v. Tinder Inc., 105 F. Supp. 3d 1083, 1092 (C.D. Cal. 2015) (cleaned up).
 8   “[W]here a court can conclude as a matter of law that members of the public are not
 9   likely to be deceived dismissal is appropriate.” Id. (cleaned up); see also Punian v.
10   Gillette Co., 2016 WL 1029607, at *8 (N.D. Cal. Mar. 15, 2016) (“[N]umerous
11   courts have found as a matter of law that a representation is not likely to deceive a
12   reasonable consumer.”).
13         First, plaintiffs do not identify any statement by Ms. Hilton that was false or
14   misleading, for the reasons explained above. See pp. 5-8.9
15         Second, any omission theory is similarly unsupported. The UCL makes
16   nondisclosure actionable only where “the defendant is in a fiduciary relationship
17   with the plaintiff; [] when the defendant had exclusive knowledge of material facts
18   not known to the plaintiff; [] when the defendant actively conceals a material fact
19   from the plaintiff; and [] when the defendant makes partial representations but also
20   suppresses some material facts.” Warner, 105 F. Supp. 3d at 1094. Plaintiffs do not
21   allege Ms. Hilton was in a fiduciary relationship with plaintiffs; that she “actively
22   concealed” a material fact; nor that she made any “partial representation” while
23   suppressing a material fact. Plaintiffs also do not explain why the particulars of how
24   Ms. Hilton acquired her BAYC NFT or that she allegedly had a financial interest in
25
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     9
        As with their Section 10(b) falsity claims, “[p]leading based on information and
27   belief is insufficient” to allege a violation of the UCL’s “fraudulent” prong. Semi-
28   Materials Co. v. SunPods, Inc., 2012 WL 3962487, at *6 (N.D. Cal. Sept. 10, 2012)
     (dismissing claim).
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 1   MoonPay (rather than Yuga Labs) would be material to a would-be purchaser of
 2   other Products. Indeed, Titcher and Palombini’s allegations that they continued to
 3   purchase Products after apparently learning of Ms. Hilton’s investment in MoonPay
 4   refutes any suggestion that these facts were material. See FAC ¶¶ 97, 455, 460.
 5         C.     The UCL Claims Fail Under The “Unlawful” or “Unfair” Prongs
 6         Because plaintiffs have failed to allege any other substantive claim against
 7   Ms. Hilton, plaintiffs also fail to state a claim under the UCL’s “unlawful” prong.
 8   See, e.g., Warner, 105 F. Supp. 3d at 1095 (“Where the predicate claims on which a
 9   plaintiff’s UCL claim are based fail, the UCL claim fails as well.”); Smith v. LG
10   Elecs. U.S.A., Inc., 2014 WL 989742, at *9-12 (N.D. Cal. Mar. 11, 2014) (dismissing
11   claim brought under “unlawful” prong where claim was “entirely derivative of the
12   other [inadequately pled] consumer protection claims”).        Second, because the
13   “practice alleged to be unfair overlaps entirely with the practices addressed under
14   the fraudulent and unlawful prongs of the UCL, the former may be dismissed when
15   the latter prongs do not survive.” Knuttel v. Omaze, Inc., 2022 WL 1843138, at *13
16   (C.D. Cal. Feb. 22, 2022). Such is the case here.
17
     IV.   PLAINTIFFS FAIL TO STATE                      A   CLAIM      FOR     UNJUST
18         ENRICHMENT (COUNT 13)
19         California law does not recognize a separate cause of action for unjust
20   enrichment. See, e.g., In re DirecTV Early Cancellation Litig., 738 F. Supp. 2d
21   1062, 1091 (C.D. Cal. 2010).
22         Even under a quasi-contract theory, the claim would fail because plaintiffs do
23   not (1) plausibly allege why an adequate remedy at law is unavailable, Rabin v.
24   Google LLC, 2023 WL 4053804, at *13 (N.D. Cal. June 15, 2023) (dismissing unjust
25   enrichment claim where plaintiffs “failed to plausibly allege . . . why legal remedies
26   [were] inadequate” or suggest that “damages would provide an inadequate remedy”);
27   and (2) plead Ms. Hilton received “a benefit and the unjust retention of the benefit”
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 1   at the plaintiffs’ expense. Eur. Travel Agency Corp. v. Allstate Ins. Co., 600 F. Supp.
 2   3d 1099, 1104 (C.D. Cal. 2022).
 3                                        Conclusion
 4         For the foregoing reasons, Ms. Hilton respectfully requests that this Court
 5   dismiss all claims asserted against her.
 6
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 1                      LOCAL RULE 11-6.2 CERTIFICATION
 2         The undersigned, counsel of record for Defendant Paris Hilton, certifies that
 3   this brief contains 4,498 words, which complies with the word limit set by court
 4   order dated August 14, 2023 (Dkt. 125).
 5
                                                  /s/ Shon Morgan
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                                                  Shon Morgan
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